                UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

IN RE:                                        Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                        Chapter 11
                   Debtor.                    Honorable Mark A. Randon



 ORDER SUSTAINING SECOND OMNIBUS OBJECTION OF THE HFV
LIQUIDATING TRUST TO (A) NO LIABILITY CLAIMS, (B) SATISFIED
         CLAIMS, AND (C) CLAIMS TO BE MODIFIED

      Upon the second omnibus objection (the “Second Omnibus Claims

Objection”) of the HFV Liquidating Trust (the “Trust”), for entry of an order

(this “Order”), (a) disallowing the Claims set forth on Schedules 1−2 attached hereto

and (b) modifying and/or reclassifying the claims listed on Schedule 3 attached

hereto, and as more fully set forth in the Second Omnibus Claims Objection; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding

and the Second Omnibus Claims Objection in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Second Omnibus Claims Objection is in the best interests of the Trust, its

creditors, and other parties in interest; and this Court having found that the Trust’s



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notice of the Second Omnibus Claims Objection and opportunity for a hearing on

the Second Omnibus Claims Objection were appropriate under the circumstances

and no other notice need be provided; and this Court having reviewed the Second

Omnibus Claims Objection and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Second Omnibus

Claims Objection and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings held before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.     The Second Omnibus Claims Objection is sustained as set forth herein.

       2.     The No Liability Claims set forth on Schedule 1 are disallowed and

expunged in their entirety.

       3.     The Satisfied Claims on Schedule 2 are disallowed and expunged in

their entirety.

       4.     The Modified Claims are hereby modified and/or priority status

reflected in the column titled “Modified Claims” on Schedule 3 to this Order. The

Modified Claims will remain on the claims register maintained by the Trust

(the “Claims Register”) and such Claims are neither allowed nor disallowed at this

time and remain subject to future objection on any basis. Nothing contained herein




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shall constitute, nor shall it be deemed to constitute, the allowance of any of the

Modified Claims.

      5.     Each objection by the Trust to each Claim addressed in the Second

Omnibus Claims Objection and as identified in Schedules 1–3 constitutes a separate

contested matter as contemplated by Bankruptcy Rule 9014. This Order shall be

deemed a separate order with respect to each Claim. Any stay of this Order pending

appeal by any claimant subject to this Order shall only apply to the contested matter

that involves such claimant and shall not act to stay the applicability or finality of

this Order with respect to the other contested matters covered hereby.

      6.     The Trust’s claims agent is authorized and directed to modify the

Claims Register in accordance with entry of the relief granted in this Order.

      7.     Nothing in this Order shall affect the Trust’s right to object to the

Claims or any other Proofs of Claim at a future date on any basis.

      8.     Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to

the validity, priority, or amount of any particular claim; (b) a waiver of the Trust’s

right to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Order or the Second Omnibus Claims Objection;

(e) a request or authorization to assume any agreement, contract, or lease pursuant



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to section 365 of the Bankruptcy Code; or (f) a waiver or limitation of the Trust’s

rights under the Bankruptcy Code or any other applicable law. Any payment made

pursuant to this Order should not be construed as an admission as to the validity,

priority, or amount of any particular claim or a waiver of the Trust’s right to

subsequently dispute such claim.

      9.     The Trust is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Second Omnibus Claims

Objection.

      10.    This Court retains exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this

Order.


Signed on July 20, 2022




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